                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                           DOCKET NO. 3:90-cr-00085-MOC

 UNITED STATES OF AMERICA,                      )
                                                )
                                                )
                                                )
 Vs.                                            )                      ORDER
                                                )
 CECIL EDWARD JACKSON                           )
 ORRIN JACKSON                                  )
 ERIC LAMOUNT WHITENER                          )
 ANTONIO FRANKLIN                               )
 CUNNINGHAM                                     )
 DARYL PERNELL CAMPS                            )
 JAMES LOUIS BURGESS                            )
 GARY L. DAVIS                                  )
 JAMES CHRISTOPHER GRIER                        )
 BRIAN JEFFERY MACK                             )
 DARRIN BERNARD ROSEBORO,                       )
                                                )
                 Defendants.                    )



       THIS MATTER is before the court on government’s Motion to Permit Limited Disclosure

of Grand Jury Testimony. Having considered government’s motion and reviewed the pleadings,

the court enters the following Order.




                                           ORDER

       IT IS, THEREFORE, ORDERED that government’s Motion to Permit Limited

Disclosure of Grand Jury Testimony (#134) is GRANTED, and the government is granted leave

to serve certain defendants who are now petitioners in collateral judicial proceedings with the

proposed page of Elliot Alexander’s testimony as the court finds that such testimony is relevant to



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an issue raised in those proceedings and that disclosure would further the interest of justice, all in

accordance with Rule 6(e)(3)(E)(i), Federal Rules of Criminal Procedure.


                                                  Signed: June 12, 2015




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